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J
                                               IN THE UNITED STATES DISTRICT COURT
                                                   FOR THE DISTRICT OF DELAWARE
~

I                DATA CARRIERS, LLC,                              )
j
~                                 Plaintiff,
                                                                  )
                                                                  )
A
A                                                                 )
i
                          v.                                      )    C.A. No. 12-933-LPS
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~                                                                 )
i                AT&T SERVICES, INC.,                             )
~
~                                                                 )
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                                  Defendant.                      )
f
                                               ORDER OF DISMISSAL WITH PREJUDICE
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~
                          CAME ON THIS DAY for consideration of the Stipulated Motion for Dismissal With

I                Prejudice of all claims by Plaintiff Data Carriers, LLC and Dismissal Without Prejudice of all
i
~                counterclaims by Defendant AT&T Services, Inc. in this case, and the Court being ofthe opinion
1I               that said motion should be GRANTED, it is hereby
~
i                         ORDERED, ADJUDGED AND DECREED that all claims asserted in this suit by
)
~                PlaintiffData Carriers, LLC against Defendant AT&T Services, Inc. are hereby DISMISSED
!
I                WITH PREJUDICE, and all counterclaims by Defendant AT&T Services, Inc. against Plaintiff
f


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                 are hereby DISMISSED WITHOUT PREJUDICE, subject to the terms of that certain agreement

                 entitled "SETTLEMENT AND LICENSE AGREEMENT" and dated February 27,2013.


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i
                          It is further ORDERED that all attorneys' fees, costs, and expenses are to be borne by the

I                party that incurred them.

lI                        SO ORDERED this )
                                                   --~
                                                         day of   A~ ; \        '2013.


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